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                                                           November 5, 2018



    The Honorable Pamela K. Chen
    U.S. District Judge
    U.S. District Court for the Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

                 Re:        United States v. Juan Angel Napout (1: 15-cr-00252)

    Dear Judge Chen:

                    On behalf of defendant Juan Angel Napout, we submit this response to restitution
    requests by (1) FIFA, CONCACAF, and CONMEBOL (together the "Organizations") for legal
    fees, and (2) FIFA and CONMEBOL for expense reimbursements.

                                         LEGAL FEE REQUESTS

                       The Organizations' requests for legal and vendor fees should be denied. 1

                   As set forth in Mr. Napout's Memorandum concerning Restitution (ECF No.
    1026), the Mandatory Victims Restitution Act (18 U.S.C. § 3663A) ("MVRA"), as interpreted in
    Lagos v. United States, 138 S. Ct. 1684 (2018), does not permit restitution for legal fees to
    outside counsel even if those fees were incurred at the behest of the government. The Supreme
    Court warned that allowing restitution for such legal fees would invite "disputes as to whether
    particular expenses 'were in fact necessary."' Id. at 1689. In such circumstances, a "district
    court might, for example, need to decide whether each witness interview and each set of
    documents reviewed was really 'necessary' to the investigation." Id. "Such disputes may
    become burdensome in cases involving multimillion dollar investigation expenses for teams of
    lawyers and accountants." Id. These concerns are manifested here.




    1.   In particular, FIFA seeks CHF 27,808,463.93 in legal fees, CONCACAF seeks $1,887,797.03, and
         CONMEBOL seeks $685,303.50.
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                  The Organizations have submitted nearly 700 pages of invoices containing
   thousands of billing entries from teams of lawyers and accountants. Many of the billing entries
   are generic and make it impossible to determine the specific task at hand, much less whether that
   task was "in fact necessary." Indeed, CONCACAF and FIFA are together claiming over
   $400,000 for restitution for legal fees spent advocating for the amount of restitution they are
   seeking. Congress could not have intended this result. See id.

                  Even assuming certain legal fees are recoverable under the MVRA, the fee
   requests must be for work tethered to the offense of conviction. Under 18 U.S.C. § 3664(h), the
   Court may only impose restitution for losses caused by the defendant or by the "reasonably
   foreseeable" acts of his co-conspirators. United States v. Smith, 513 Fed. Appx. 43, 45 (2d Cir.
   2013); United States v. Castillo, 186 Fed. Appx. 25, 27 (2d Cir. 2006). Many of the
   Organizations' claims cannot meet this burden.

            A.       The Organizations' requests should be denied in whole or in part.

                   The legal fee requests must be denied on various grounds, including: (i) the fees
   were incurred for work not done at the government's request; (ii) the fees were incurred for work
   unrelated to the offense conduct underlying Mr. Napout's conviction; (iii) the fee descriptions
   are too vague or generic to determine recoverability; and (iv) the fees are excessive or
   unnecessary.

                     1.      FIFA

                FIFA has refused to revise its fee request in any manner, as it still seeks close to
   CHF 28 million.

                             (a)      Costs of Internal Investigations

                   FIFA cannot recover the costs of its investigations as those fees were neither
   incurred at the behest of the government nor tied to the schemes for which Mr. Napout was
   convicted, and in any event are excessive.

                    First, the fees claimed by FIFA were not incurred at the behest of the government,
   and FIFA does not identify any work (apart from the trial) that FIFA "would not have undertaken
   but for the government's request." See 10/9/18 Order. The Burck Declaration2 states that FIFA
   started its investigation shortly after the May 2015 indictment was unsealed, and Quinn Emanuel
   subsequently "requested guidance from the Government" on what subject matters it should focus
   its investigation. Burck Dec. ,, 2--4. FIFA does not and cannot assert that the government
   instructed it to conduct an internal investigation. Rather, when asked by FIFA what FIFA's
   priority in the investigations should be, the government suggested that FIFA prioritize the 2010
   FIFA World Cup in South Africa. Id.




   2.   FIFA Oct. 25, 2018 Letter Ex. A, October 25, 2018, Declaration of William A. Burck ("Burck Dec.").
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                   Significantly, "FIFA acknowledges that in investigating topics identified by the
   Government and producing relevant documents, FIFA was motivated, at least in part, by a desire
   to demonstrate its cooperation, preserve its victim status, and avoid prosecution in any future
   indictment." FIFA Oct. 25 Letter at 2. Thus, this is not a case where the government approached
   a victim and asked it to conduct an investigation, but rather where "FIFA proactively approached
   the Government to open a dialogue after the Indictment was unsealed." FIFA Oct. 25 Letter at 3.
   A corporation acting out of self-preservation cannot turn around and have its costs reimbursed
   through restitution. 3

                   FIFA also concedes that it seeks CHF 1,725,670.00 in fees incurred generating
   reports for the Swiss government. Such work clearly was not at the U.S. government's request,
   or necessary for the prosecution of this case. See, e.g., Burck Dec. ,i 4 7 ("in response to follow-
   up questions from the Swiss authorities and new documents provided by key witnesses, Quinn
   Emanuel revised the Investigative Reports and transmitted final copies to the Swiss authorities in
   March 2017").

                     Second, as FIFA's request makes clear, the bulk ofFIFA's investigative costs
   relate to the 2010 World Cup, although FIFA makes reference to six additional unidentified
   workstreams. See Burck Dec. ,i,i 5, 7. The 2010 World Cup scheme took place years before Mr.
   Napoutjoined CONMEBOL or FIFA, and there was no evidence presented at trial that Mr.
   Napout was involved in or knew of these events. Indeed, the 2010 World Cup site selection
   scheme is not referenced in the Second Superseding Indictment which formed the basis of Mr.
   Napout's trial. Because these costs were not caused by Mr. Napout or the reasonably foreseeable
   acts of his alleged co-conspirators, FIFA is not entitled to restitution for legal fees related to
   these schemes.

                     Finally, even if the Court believes that FIFA is entitled to some of these legal
   fees, the fees are excessive and so vaguely described in the materials as to make it impossible to
   determine whether they should be subject to restitution. Indeed, FIFA, by seeking $28 million in
   legal fees from Mr. Napout but only $120,000 in alleged non-fee losses from him, has put a
   spotlight on the absurd nature of the fee request. FIFA has had ample opportunities, and has
   failed, to demonstrate recoverable legal fees from its investigations.

                               (b)      Legal Fees for Preparation of Trial Documents and Witness

                 FIFA seeks over CHF 28,000 for trial preparation. The sole FIFA witness testified
   for approximately 30 minutes on the first day of trial. Yet, a Quinn Emanuel associate charged
   over CHF 4,500 to observe that day's trial and write a summary of it. See FIFA Oct. 25 Letter
   Ex. Bat Bates No. FIFA_RES_00244. FIFA also seeks thousands of dollars for reviewing and
   analyzing Executive Committee minutes even though there is no clear evidence that the
   government requested that work. Similarly, FIF A's review of court filings appears unnecessary


   3.   Barring such restitution would be consistent with Second Circuit law that the MYRA does not contemplate
        restitution for coconspirators. United States v. Reifler, 446 F.3d 65, 127 (2d Cir. 2006) ("[A]ny order entered
        under the MYRA that has the effect of treating coconspirators as 'victims,' and thereby requires 'restitutionary'
        payments to the perpetrators of the offense of conviction, contains an error so fundamental and so adversely
        reflecting on the public reputation of the judicial proceedings that we may, and do, deal with it sua sponte.").
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   to the government's trial presentation. FIFA' s request for trial preparation fees should be revised
   according! y.

                            (c)     Legal Fees for Attorney to Attend Trial after its Witness Testified

                    FIFA still seeks to recover CHF 105,000 for having attorneys sit through or
   review updates about the entire six-week trial, ignoring the Court's view of the request at the last
   hearing: "I am dubious about that proposition because, while a victim has the right to attend the
   trial and a victim's attendance at the trial that is necessary can be covered by the MVRA,
   attending every day of a six-week trial, someone is going to have to convince me that was
   somehow necessary." Oct. 4, 2018 Hearing Tr. ("Hearing Tr.") at 92. FIFA cites no case or
   other compelling factor to justify such a request.

                            (d)     Legal Fees for Claiming Restitution

                   FIFA seeks CHF 80,888.98 in restitution for legal fees incurred while attempting
   to claim restitution. Even assuming the MVRA permits such a category of fees, much of the
   work done by FIFA in seeking restitution was unnecessary. FIFA has sought $28 million dollars
   in fees without any support of the government. If the Court denies these restitution claims, FIFA
   should not be able to seek restitution for the legal fees chasing after them. Moreover, FIFA
   could not have expended significant attorney fees in seeking to recover approximately $120,000
   in alleged losses caused by Mr. Napout.

                    2.      CONCACAF

                 CONCACAF' s claims for restitution totaling over $1.3 million for legal fees and
   nearly $140,000 in fees for vendor services should be denied.4

                            (a)     Costs of Internal Investigation

                   The scope of CONCACAF's internal investigation was far wider than the two
   schemes for which Mr. Napout was convicted. Among other things, CONCACAF investigated
   two Gold Cup bribery schemes (one of which ran from 1992 through 2003). There has been no
   allegation that Mr. Napout had any awareness of either scheme, and thus losses from those
   schemes were not caused by Mr. Napout or the reasonably foreseeable acts of his alleged co-
   conspirators. CONCACAF's invoices identify over 20 individuals who were the subject of its
   internal investigation, but do not identify Mr. Napout a single time. In fact, of the more than
   1,100 billing entries, only four mention the Copa America. See CONCACAF Oct. 25. Letter
   Exs. A & B. It is difficult, if not impossible, to determine what portion of CONCACAF's




   4.   It appears that the fees of Conselio, Berkeley Research Group and BDO also were incurred as part of
        CONCACAF's broad internal investigations. See CONCACAF Oct. 25, 2018 Letter (ECF No. 1063) Exs. A,
        B,C,D&E.
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   investigation fees might relate to Mr. Napout's alleged offense conduct.5 Consequently, the fee
   request should be denied.

                  Even assuming CONCACAF can recover for legal fees unrelated to Mr. Napout's
   convictions, some of CONCACAF's billing entries are simply too vague to parse. See, e.g.
   CONCACAF Oct. 25 Letter Ex. A (11/19/2012 Entry of William D. Kerr: $243.75 for "Note to
   team"; 3/22/2013 Entry of Pouneh Aravand: $1348.75 for "Review documents for privilege").
   CONCACAF should not be able to claim restitution when it is unclear the purpose or topic of its
   legal work.6 Likewise, the billing descriptions in some of CONCACAF's vendor invoices do not
   provide sufficient information to determine what task the vendor was working on or even
   services were provided. CONCACAF should not be able to recover for fees that is has not
   demonstrated were related and necessary to the prosecution of the charged conduct.

                               (b)      Legal Fees for Claiming Restitution

                  CONCACAF seeks $405,000 in fees and expenses just for its submissions
   concerning restitution. Even if such fees are generally permissible under the MYRA,
   CONCACAF's request is excessive.

                  First, CONCACAF should not be able to collect any legal fees or expenses
   associated with its expert. See CONMEBOL Oct. 25 Letter Exs. F & G. Even the government
   viewed the expert as unnecessary and irrelevant to the proceedings. 7

                    Second, CONCACAF should not be awarded legal fees for its original and
   unsuccessful attempt to seek more than $45 million in restitution combined in purported
   contractual losses and legal fees. See CONCACAF Sept. 7, 2018 Letter (ECF No. 1013). Only
   after the defense challenges to these claims has CONMEBOL revised its claim down to
   approximately $4.5 million combined (or approximately 10% of its initial ask). CONCACAF's
   fee request should be similarly discounted, as CONCACAF should not be able to receive legal
   fees for restitution requests that it has either withdrawn or the Court ultimately denies.

                 Third, Sidley Austin's rates for seeking fees for restitution averaged $869 an hour,
   nearly 70% higher than the average rate charged for the internal investigation detailed in Exhibit



   5.   Mr. Napout renews his objection to the lack of disclosure about the government's requests to the Organizations.
        Absent such information, Mr. Napout has no ability to challenge whether any particular time entry responds to a
        government request, or whether any particular request or response relates to the offense conduct underlying the
        charges against Mr. Napout.

   6.   Roughly $150,000 worth of billing entries do not even reference the DOJ's investigation. See CONCACAF
        Oct. 25, 2018 Letter Exs. A & B. In addition, there are numerous entries for a "taint review," and it is unclear
        how such a review relates to the prosecution of the charges against Mr. Napout.

   7.   Mr. Nietze stated at the hearing: "I guess what the Government is not so clear about is if this expert is just going
        to testify that the rights that came back through the revised contract came back damaged, the tournament's
        prestige had been damaged, we had to hustle against the clock, whatever that is, and if all those things hadn't
        been true we would have been able to mitigate even further, what does that have to do with loss amount?"
        Hearing Tr. at 13.
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   A ($515 an hour). This is because a disproportionate amount of the work was done by partners
   and senior associates. CONCACAF should not receive fees at these average rates, but rather at
   the average rates which Sidley Austin provided CONCACAF legal services throughout the
   internal investigation. Finally, Sidley Austin's fees are excessive with respect to the number of
   lawyers and the work included in the fee request. CONCACAF is charging for at least six
   lawyers to work on the restitution submission, and for three lawyers, including two partners, to
   attend the restitution hearing. In fact, on two different dates (August 17 and 21, 2018), Sidley
   Austin is charging for having 6 attorneys on a telephone call. Among the tasks included in
   Sidley Austin's fee requests are the following descriptions: "update calendar invites"; "discuss
   folder reorganization"; "update docket tracker"; "update shared drive"; "chasing trial transcript";
   "attention for finding coverage for Napout sentencing"; "manage case files"; and calls to
   coordinate with Quinn Emanuel. The Court should deny CONCACAF's request for fees for
   these and similar tasks.

                  3.      CONMEBOL

                          (a)    Legal Fees for the Internal Investigation

                   CONMEBOL's claims for restitution for legal fees should be reduced. First,
   some of CONMEBO L's entries make clear that the work was done as part of an internal
   investigation, as opposed to responding to government requests. See CONMEBOL Oct. 25
   Letter Ex. A (e.g. 5/20/2016 Entry of BAO: $1,342.50 for "Prepare cover letter for production to
   DOJ; correspondence re next steps in internal investigation." (emphasis added); 7/28/2016
   Entry of BAO: $3,222 for "Prepare letter to DOJ; TCs re same; prepare updated workplan re
   internal investigation." (emphasis added)). However, the entries do not identify whether that
   work would not have been undertaken in the absence of the government's request. As this Court
   has required the Organizations to establish that the requested legal fees would not have been
   incurred "but for" the government's request, these time entries must be denied.

                   Second, a number of CONMEBOL's entries, including those portions of
   CONMEBOL's entries that reference its own internal investigation, do not make clear that the
   work done was related to the schemes for which Mr. Napout was convicted, and thus must be
   denied as well. See id. (e.g. 5/20/2016 Entry of GS: $4,838 for "Prepare production letter to
   DOJ; Produce documents to DOJ."). Finally, some of the entries provide no basis to determine
   that they relate to the government's investigation at all, and thus must be denied. See id. (e.g.
   9/29/2016 Entry of GS: $3,089.50 for "Review CONMEBOL Documents.").

                          (b)    Legal Fees related to the Common Interest Privilege Claim

                   CONMEBOL is not entitled to the legal fees it seeks relating to Mr. Napout's
   claim of a common interest privilege. In its August 15, 2018 letter, CONMEBOL argued that
   Mr. Napout used the common interest agreement to protect himself from prosecution and
   "victimize" CONMEBOL. CONMEBOL Aug. 15, 2018 Letter at 12 (ECF No. 989). Yet,
   Magistrate Judge Levy did not find that Mr. Napout or his counsel had acted in bad faith or
   attempted to "victimize" CONMEBOL, merely that the claim of common interest was
   unwarranted. See 3/10/17 Order (ECF No. 549). And the common interest privilege was
   intended to be limited to work done renegotiating commercial contracts affected by the May
   2015 indictment. Id. at 3-4. It was not an attempt to join forces for purposes of the criminal
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   investigation, much less to thwart that investigation. In fact, common interest privilege
   arrangements are commonly formed among subjects of criminal investigations. Courts should
   not penalize a defendant for asserting a privilege, even if the Court ultimately overrules that
   privilege assertion, by imposing restitution in connection with such an assertion. The Court
   should reject CONMEBOL's request for over $300,000 in fees incurred during the privilege
   dispute.

                               EXPENSE REIMBURSEMENTS

                  FIFA and CONMEBOL has each failed to connect purported expense payments
   with the offense conduct.

                  FIFA seeks $121,446.30 for trip expenses paid to Mr. Napout. FIFA Aug. 15,
   2018 Letter at 7 (ECF No. 988). In its four submissions to date, however, FIFA has made no
   attempt to connect any of these payments to Mr. Napout with Mr. Napout's offense convictions.
   Absent a connection between the payments and the offense conduct, the restitution request must
   be denied. See Hearing Tr. at 95-97 (discussing United States v. Donaghy, 570 F. Supp. 2d 411
   (E.D.N.Y. 2008), affd sub nom. United States v. Battista, 575 F.3d 226 (2d Cir. 2009)).

                    CONMEBOL seeks $105,000 purportedly "for trips that Napout took while
   actively engaging in the conspiracy of which he has been convicted." CONMEBOL Oct. 11,
   2018 Letter at 3 (ECF No. 1052). In its initial restitution submission, CONMEBOL did not
   identify these payments as trip expenses. See CONMEBOL Aug. 15, 2018 Letter (ECF No.
   989). While it characterizes these payments as trip expenses now, it provides no support to
   demonstrate that any payments were made in connection with a trip, or anything else for that
   matter. CONMEBOL still fails to provide any underlying documentation for these payments.
   Rather, CONMEBOL only provides a single page summary from a consulting report, in which
   Mr. Napout is listed in a column having received $105,000, with no detail, no explanation, and
   no supporting documentation. See CONMEBOL Oct. 11, 2018 Letter Attachment A (describing
   the amount listed under Mr. Napout's name as the "Total according to SWIFT (international
   transfer) and SIP AP whose beneficiaries are officials or whose descriptions have a reference to
   an official.") (emphasis added) The sole reference to Mr. Napout on the summary page does not
   state that the amount was paid to Mr. Napout in connection with trips. CONMEBOL' restitution
   request, which lacks even the barest of details, must be denied.

                                          CONCLUSION

                    Mr. Napout respectfully requests that the Court deny the Organizations' requests
   for legal fees, and deny all ofFIFA's and CONMEBOL's requests for reimbursements for travel
   and other expenses.

                                                 ,.. Resgfu~y submitted,

                                                      ,y-l//r---
                                                    Marc A. Weinstein

   cc:   All counsel of record via ECF
